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This page displays all relevant details related to your draft and completed submissions.
Submissions per page:

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Draft Submissions

Remote Customer Service and Retention Repr tati - Full-time
United States-Texas-Irving, United States
Job Number: 2119437
Job Status: Inactive (No Longer Accepting Job Submissions)
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Completed Submissions

Work From Home-Regional Support Specialist - Full-time
United States-Florida-Jacksonville
Job Number: 2118795
Job Status: Inactive (No Longer Accepting Job Submissions)
Submission Status: Completed - Updated: Oct 18, 2022

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Dallas STEM Hiring —- Full-time

United States-Texas-Irving
Job Number: 2210212
Job Status: Inactive (No Longer Accepting Job Submissions)
Submission Status: Completed - Updated: Aug 3, 2022
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Remote Customer Service Monitoring Representative - Full-time
United States-Texas-Irving
Job Number: 2210600
Job Status: Inactive (No Longer Accepting Job Submissions)
Submission Status: Completed - Updated: Mar 17, 2022
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Remote Cust Troubleshooting Support = - Full-time
United States-Texas-Irving
Job Number: 2210714
Job Status: Inactive (No Longer Accepting Job Submissions)
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